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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                (SOUTHERN DIVISION)

 IVY SKIDMORE

                        Plaintiff,

                   v.                            Civil Action No.: 8:24-cv-2736-PJM

 CACI, INC. - FEDERAL

                        Defendant.



                                            ORDER

         Upon consideration of the Consent Motion of Defendant CACI, Inc. – Federal for

Extension of Time (“Motion”), it is this ____ day of ________________, 2024, hereby


         ORDERED that the Motion is GRANTED; and it is further


         ORDERED that the deadline for Defendant CACI, Inc. - Federal to file its Opposition

to Plaintiff’s Motion for Leave to Amend Complaint (ECF 16) is extended through and

including December 23, 2024; and it is further


         ORDERED that the deadline for Defendant CACI, Inc. - Federal to file its Reply in

Support of its Motion to Dismiss (ECF 11) is extended through and including December 23,

2024.



                                                    ______________________________
                                                    Peter J. Messitte
                                                    United States District Judge




DMFIRM #414554491 v1
